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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY
                                                                               TELECONFERENCE
                             -v-
                                                                                -cr-   ( )
,LORENZO BAUTISTA
                                       Defendant(s).
-----------------------------------------------------------------X

           Lorenzo Bau5sta hereby voluntarily consents to participate in the following
Defendant ______________
proceeding via videoconferencing:

 X
___      Initial Appearance/Appointment of Counsel

___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___       Felony Plea/Trial/Sentence


  S/ Lorenzo Bautista/otw
_______________________________                                       /s/ Irving Cohen
                                                                     _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Lorenzo Bau5sta
__________                                                             Irving Cohen
                                                                     __________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable telephone conferencing technology and the dial-in
information for the call was publicly available and provided to the press.

January
 ___    12, 2021                                          _________________________________
Date                                                      U.S. Magistrate Judge – ONA T. WANG
